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                                UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION


Michael D. Van Deelen,                      )
                                            )
       Plaintiff,                           )
                                            )
v.                                          )
                                            )
David R. Jones, Elizabeth Carol Freeman,    )         Case No. 4:23-cv-3729
Jackson Walker, LLP, Kirkland & Ellis, LLP, )
and Kirkland & Ellis International, LLP,    )
                                            )
       Defendants.                          )
                                            )
                                            )
                                            )

                            [PROPOSED] ORDER RE MOTION TO SEAL

          Pending before the Court is Defendants Kirkland & Ellis LLP and Kirkland & Ellis International

LLP’s Motion to Seal portions of their Motion to Dismiss. (Dkt. No. ___). After reviewing the motion,

the record, and the applicable law, the Court hereby GRANTS the motion.

          It is SO ORDERED.

          SIGNED and ENTERED this ___ day of ___________, 2024.




                                                        Alia Moses
                                                        Chief United States District Judge




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                       [PROPOSED] ORDER RE KIRKLAND’S MOTION TO SEAL
6621991
